   DEPARTMENT OF CORRECTIONS                                                                                         WISCONSIN
   Department of Adult Institutions                                                                            Administrative Code
   DOC-410 (Rev. 04/18)                                                                                          Chapter DOC 310


                                                  ICE RECEIPT
                                      COMPLAINT NUMBER WCI-2023-12447
                                         * * * ICRS CONFIDENTIAL * * *

        To: KURKOWSKI, PATRICK R. - #542962
            UNIT: _N-_D -- _D37-_L
            WAUPUN CORRECTIONAL INSTITUTION
            PO Box 351
            WAUPUN, WI 53963-0351



        Complaint Information:
           Date Complaint Acknowledged:     08/21/2023
           Date Complaint Received:         08/21/2023
           Subject of Complaint:        12 - Other

           Brief Summary:               complains he is not receiving more then one recreation period a week

            This is to acknowledge the complaint you filed which was received on the date indicated. Depending on
            the nature of the complaint, you may or may not be interviewed by the ICE. A recommendation on the
            complaint will be made and submitted to the appropriate reviewing authority within 30 days of
            acknowledgement. A decision will be made by the appropriate reviewing authority within 15 days following
            receipt of the recommendation unless extended for cause.
                Please write to the ICE if this issue is resolved before you receive an answer.




Print Date: August 22, 2023                                 Page 1 of 1                         Institution Complaint Examiner's Office
                                                     ** ICRS CONFIDENTIAL **
                                                                           EXHIBIT
                     Case 2:23-cv-01430-WED Filed 03/25/24 Page 1 of 7 Document 32-51004 - 1
   DEPARTMENT OF CORRECTIONS                                                                                              WISCONSIN
   Department of Adult Institutions                                                                                 Administrative Code
   DOC-402 (Rev. 04/18)                                                                                               Chapter DOC 310

                                                 ICE REJECTION
                                      COMPLAINT NUMBER WCI-2023-12447
                                         * * * ICRS CONFIDENTIAL * * *


        To: KURKOWSKI, PATRICK R. - #542962
            UNIT: _N-_D -- _D37-_L
            WAUPUN CORRECTIONAL INSTITUTION
            PO Box 351
            WAUPUN, WI 53963-0351




        Complaint Information: REJECTED


         Date Complaint Acknowledged: 08/21/2023                                              Inmate Contacted? No

         Date Complaint Received:           08/21/2023

         Subject of Complaint:             12 - Other

         Document(s) Relied Upon:          DOC 310

         Brief Summary:                    complains he is not receiving more then one recreation period a week

         Rejection Comment:                TM From DOC 310.07(2), "An inmate shall file a complaint within 14 days after
                                           the occurrence giving rise to the complaint. At the discretion of the ICE, a late
                                           complaint may be accepted for good cause. An inmate shall request to file a
                                           late complaint in the written complaint and explicitly provide the reason for the
                                           late filing." Complains WCI is not offering four hours of recreation a week. That
                                           is the occurrence giving rise to this complaint and the date of occurrence is
                                           determined to be 3/29/23 when the modified schedule started. Just because the
                                           inmate decided to address the issue now does not start a new date of
                                           occurrence. It is beyond the 14-day time limit to file a complaint. Inmate makes
                                           no plea for good cause. He does not present evidence to show how he was
                                           denied the use of or inhibited in any way from using the ICRS since the date of
                                           the occurrence. The complaint is rejected as it fails to adhere to the stated filing
                                           requirement.

         Rejection Code:                   Beyond 14 calendar day limit
         Decision Date:                   08/28/2023




                                           T. Moon - Institution Complaint Examiner
          Per DOC 310.10(10), you may appeal the rejection of this complaint within 10 days to the appropriate reviewing
          authority. The reviewing authority will only review the basis for the rejection of this complaint, not the merits of
          the complaint.


Print Date: August 29, 2023                                    Page 1 of 2                           Institution Complaint Examiner's Office
                                                        ** ICRS CONFIDENTIAL **
                                                                          EXHIBIT
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   DEPARTMENT OF CORRECTIONS                                                                                         WISCONSIN
   Department of Adult Institutions                                                                            Administrative Code
   DOC-402 (Rev. 04/18)                                                                                          Chapter DOC 310

                                                 ICE REJECTION
                                      COMPLAINT NUMBER WCI-2023-12447
                                         * * * ICRS CONFIDENTIAL * * *


        To: KURKOWSKI, PATRICK R. - #542962
            UNIT: _N-_D -- _D37-_L
            WAUPUN CORRECTIONAL INSTITUTION
            PO Box 351
            WAUPUN, WI 53963-0351




        Complaint Information: REJECTED



          If you wish to appeal, complete form DOC 2182 Request for Review of Rejected Complaint and send to:

                      INSTITUTION COMPLAINT EXAMINER
                      WAUPUN CORRECTIONAL INSTITUTION
                      200 S. MADISON STREET
                      P. O. BOX 351
                      WAUPUN, WI 53963-0351

          The reviewing authority's decision is final pursuant to s. DOC 310.10(10), Wis. Adm. Code.




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                                                     ** ICRS CONFIDENTIAL **
                                                                          EXHIBIT
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                                                                                                       GENERAL REPORT
                                                                                                         WCI-2023-12447
                                                 State of Wisconsin
                                                   Department of Corrections
                               GENERAL REPORT ON INMATE COMPLAINT

        Complaint Information:
           Date Complaint Acknowledged:        August 21, 2023
              Date Complaint Received:         August 21, 2023
              Subject of Complaint:          12 - Other

              Brief Summary:                 complains he is not receiving more then one recreation period a week

        ICE Rejection Information:      (Signed on 8/28/23 3:48:35PM):
              Document(s) Relied Upon:       DOC 310
              ICE's Summary of Facts:        TM From DOC 310.07(2), "An inmate shall file a complaint within 14 days
                                             after the occurrence giving rise to the complaint. At the discretion of the ICE,
                                             a late complaint may be accepted for good cause. An inmate shall request to
                                             file a late complaint in the written complaint and explicitly provide the reason
                                             for the late filing." Complains WCI is not offering four hours of recreation a
                                             week. That is the occurrence giving rise to this complaint and the date of
                                             occurrence is determined to be 3/29/23 when the modified schedule started.
                                             Just because the inmate decided to address the issue now does not start a
                                             new date of occurrence. It is beyond the 14-day time limit to file a complaint.
                                             Inmate makes no plea for good cause. He does not present evidence to
                                             show how he was denied the use of or inhibited in any way from using the
                                             ICRS since the date of the occurrence. The complaint is rejected as it fails to
                                             adhere to the stated filing requirement.

              ICE's Recommendation:          Rejected - Beyond 14 calendar day limit
              ICE's Recommendation Date: August 28, 2023




Print Date: January 03, 2024                                  Page 1 of 1
                                                      ** ICRS CONFIDENTIAL **
                                                                          EXHIBIT
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                                                                    State of Wisconsin
                                                                     Department of Corrections

                                                               DISTRIBUTION ITEMS
                                                       for COMPLAINT NUMBER WCI-2023-12447
        Item                          Create Date            Created By          Sent To            Inmate ID          Print Date             Printed By
ICE Receipt                    08/21/2023 11:30:08AM   Tonia Moon               WCI                   542962    08/22/2023 3:08:18PM   Tonia Moon
ICE Rejection                  08/28/2023 3:48:35PM    Tonia Moon               WCI                   542962    08/29/2023 2:24:41PM   Brian Kolb




Print Date: January 03, 2024                                                     Page 1 of 1
                                                                          ** ICRS CONFIDENTIAL **

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                                                      EXHIBIT
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                                                     EXHIBIT
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